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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 JANE DOE 1, et al.,                                    )
                                                        )
                               Plaintiffs,              )
                                                        )
                          v.                            )      No. 1:23-cv-01302-JRS-MKK
                                                        )          1:23-cv-01303-JRS-MKK
 BUTLER UNIVERSITY, et al.,                             )          1:23-cv-01306-JRS-MKK
                                                        )
                               Defendants.              )

                                                Order

        Plaintiffs jointly move to have their identities protected while pursuing

 claims of negligence, gross negligence, battery, assault, and intentional infliction of

 emotional distress against Defendants Butler University, Michael Howell, and

 Ralph Reiff, Dkt. [3]. 1 In their Motions, Plaintiffs ask to proceed under the

 pseudonym "Jane Doe 1" (1:23-cv-01302-JRS-MKK), "Jane Doe 2" (1:23-cv-01303-

 JRS-MKK), and "Jane Doe 3" (1:23-cv-01306-JRS-MKK). For the reasons set forth

 below, Plaintiffs' Motions are GRANTED.

 I.     Background

        The following facts, assumed to be true for the purposes of the following

 analysis, are taken from Plaintiffs' Complaints. (1302 Dkt. 1; 1303 Dkt. 1; 1306 Dkt.

 1).




 1 Because the motions and responses are identical in each case, the Court will cite to the Motion,

 Responses, and Replies filed in Case No. 1:23-cv-01302-JRS-MKK. (Dkts. 3, 3-1). When the
 Court references specific allegations in each of the Jane Doe Complaints, the Court will include
 the identifying case number in the cites, e.g. "1302 Dkt. 1," "1303 Dkt. 1", "1306 Dkt. 1", etc.
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       a.     Jane Doe 1

       In 2021, Plaintiff Jane Doe 1 played soccer for Butler University's women's

 soccer team. (1302 Dkt. 1 at 1-2, ¶1). Defendant Michael Howell ("Howell") was an

 assistant athletic trainer who was employed by Defendant Butler University

 ("Butler") and worked with the women's soccer team. (Id. at 5-6, ¶¶14, 19-20.).

 Defendant Reiff ("Reiff") was the athletic director at all relevant times. (Id.). From

 the spring of 2021 until the fall of that same year, Howell touched Jane Doe 1's

 breasts and genital area and rubbed his erect penis/genital area against Jane Doe

 1's hand(s) during treatment sessions, photographed and recorded Jane Doe 1, and

 threatened to harm Jane Doe 1's standing on the soccer team by claiming he had

 incriminating evidence of Jane Doe 1 and other team members. (Id. at 12-16, 18.).

       b.     Jane Doe 2

       In 2019, Plaintiff Jane Doe 2 began attending Butler and playing for the

 women's soccer team. (1303 Dkt. 1 at 6, ¶27; 8, ¶46). While playing for Butler, Jane

 Doe 2 was subjected to isolation, grooming, manipulation, control, sexual assault,

 and other abuse from Howell. (Id. at 8, ¶46.). Specifically, Howell touched and

 rubbed Jane Doe 2's genital area, photographed Jane Doe 2 during workouts and

 while she was sleeping, and exposed Jane Doe 2's breasts and vaginal area during

 treatment and massage sessions. (Id. at 9-14.).

       c.     Jane Doe 3

       Like Jane Doe 2, Plaintiff Jane Doe 3 began playing women's soccer at Butler

 during the fall of 2019. (1306 Dkt. 1 at 6, ¶26). During Jane Doe 3's time playing



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 soccer, Howell told Jane Doe 3 that he had files against all the players that he

 would use against them if the players said anything bad about Howell. (Id. at 7,

 ¶32.). During a massage, Howell rubbed under Jane Doe 3's waistband and inner

 groin and exposed her vagina. (Id. at 13-14, ¶¶90-95.). Howell showed sexual movie

 clips to Jane Doe 3. (Id. at 9, ¶¶54-55.). Howell also subjected Jane Doe 3 to full

 body massages when they were unnecessary and unrelated to her complaints of

 pain. (Id. at 13-14.).

        d.     Title IX investigation and results

        In September 2021, Plaintiffs reported Defendant Howell's sexual misconduct

 to a Butler coach. (1302 Dkt. 1 at 20, ¶153; 1303 Dkt. 1 at 16, ¶120; 1306 Dkt. 1 at

 14, ¶99). The coach submitted an incident report to Butler, and a Title IX

 investigation ensued. (Dkt. 1 at 15). During the confidential investigation and

 hearings, Defendant Reiff and other Butler employees admitted that there were no

 written policies or procedures regarding athletic trainer conduct or interacting with

 athletes of the opposite sex from the trainer, and there were no appropriate reasons

 for Defendant Howell's treatments and massages. (Dkt. 3-1 at 6 (identifying the

 Title IX proceedings as "confidential"); 1302 Dkt. 1 at 23-26; 1303 Dkt. 1 at 18-20;

 1306 Dkt. 1 at 15-16). After the investigation, a Title IX decision-making panel of

 independent counsel determined that Defendant Howell sexually assaulted and

 harassed Defendant Butler women's soccer players and noted that Defendant

 Howell did not show remorse but rather seemed to be angry or indignant at his




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 methods being questioned. (1302 Dkt. 1 at 23-26; 1303 Dkt. 1 at 18-20; 1306 Dkt. 1

 at 15-16).

       e.     The current lawsuits

       On July 26, 2023, Plaintiffs filed the current lawsuits, accusing Defendants

 Butler and Reiff of negligence and gross negligence, and Defendants Butler and

 Howell of battery, assault, and intentional infliction of emotional distress. (1302

 Dkt. 1 at 28-37; 1303 Dkt. 1 at 21-30; 1306 Dkt. 1 at 18-26). Simultaneous with

 their Complaints, Plaintiffs filed the Joint Motions now before the Court, asking for

 permission to proceed under the pseudonyms "Jane Doe 1," "Jane Doe 2," and "Jane

 Doe 3," respectively. (Dkt. 3). According to Plaintiffs, their claims involve matters of

 the utmost intimacy; their public identification would risk further emotional and

 mental injury; Defendants would not be prejudiced if Plaintiffs were allowed to

 proceed under pseudonyms; and there is no compelling interest in the public

 knowing Plaintiffs' identities. (Dkt. 3 at 4-7). Plaintiffs request that the parties be

 prohibited from publicly filing information that contains their unredacted names or

 personally identifiable information.

       All Defendants disagree that Plaintiffs have presented the "exceptional

 circumstance(s)" which warrant pseudonymous litigation. (Dkt. 30 (Defendant

 Howell's response in opposition); Dkt. 31 (Defendants Butler and Reiff's response in

 opposition)). Defendants Butler and Reiff concede, however, that grounds exist to

 allow Jane Does 1 and 2 to proceed anonymously. (Dkt. 31 at 4). They take no




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 position on Jane Doe 3's request. (Id.). Defendant Howell opposes in full each of the

 three Plaintiff's requests. (Dkt. 30 at 5-6).

 II.   Legal Standard

       "The people have a right to know who is using their courts." Doe v. Blue Cross

 & Blue Shield United of Wis., 112 F.3d 869, 872 (7th Cir. 1997). This principle is

 reflected by the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 10(a) ("the

 complaint must name all the parties"); Fed. R. Civ. P. 17(a)(1) ("An action must be

 prosecuted in the name of the real party in interest."). The Seventh Circuit has

 canonized the presumption against pseudonymous litigation on the foundation that

 “[t]he public has an interest in knowing what the judicial system is doing, an

 interest frustrated when any part of litigation is conducted in secret.” Doe v. Smith,

 429 F.3d 706, 710 (7th Cir. 2005); see also Roe v. Dettelbach, 59 F.4th 255, 259 (7th

 Cir. 2023) ("'[t]he use of fictitious names is disfavored'") (quoting Blue Cross & Blue

 Shield United, 112 F.3d at 872); Blue Cross & Blue Shield United, 112 F.3d at 872

 ("Identifying the parties to the proceeding is an important dimension of

 publicness.").

       Nevertheless, "exceptional circumstances" can justify pseudonymity for

 litigants seeking relief in federal court. Blue Cross & Blue Shield United, 112 F.3d

 at 872; see also Doe v. City of Chicago, 360 F.3d 667, 669 (7th Cir. 2004) ("Not that

 concealment of a party's name is always improper."). "To proceed anonymously, a

 party must demonstrate 'exceptional circumstances' that outweigh both the public

 policy in favor of identified parties and the prejudice to the opposing party that



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 would result from [concealing the party's identity]." Doe v. Vill. of Deerfield, 819

 F.3d 372, 377 (7th Cir. 2016) (citations omitted). This requires the movant to show

 that the harm she faces "exceeds the likely harm from concealment." Dettelbach, 59

 F.4th at 259 (quoting City of Chicago, 360 F.3d at 669).

        The Seventh Circuit has identified some exceptional circumstances that

 constitute privacy interests warranting pseudonymity, such as "when necessary to

 protect the privacy of children, rape victims, and other particularly vulnerable

 parties or witnesses," Blue Cross & Blue Shield United, 112 F.3d at 872, or when

 there is a "danger of retaliation," City of Chicago, 360 F.3d at 669. See also

 Dettelbach, 59 F.4th at 259 (citing Blue Cross & Blue Shield and Vill. of Deerfield);

 Vill. of Deerfield, 819 F.3d at 377 ("Further, a party's allegation of fear of retaliation

 'is often a compelling ground' in favor of anonymity. . . . For instance, we affirmed

 the use of fictious names where plaintiffs, minor children and their parents, had

 legitimate fears of future retribution in a case involving religious freedom.")

 (citations omitted).

        Courts in this District have looked to a list of factors when considering

 whether exceptional circumstances exist, including, for example, the multi-factor

 analysis referenced by both Plaintiffs, (Dkt. 3-1 at 4), and Defendant Howell, (Dkt.

 30 at 2):

             (1) whether the plaintiff is challenging governmental activity; (2)
             whether the plaintiff would be required to disclose information of
             the utmost intimacy; (3) whether the plaintiff would be compelled to
             admit his or her intention to engage in illegal conduct, thereby
             risking criminal prosecution; (4) whether the plaintiff would risk
             suffering [physical or mental] injury if identified; [] (5) whether the

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           party defending against a suit brought under a pseudonym would
           be prejudiced; [and (6) the public interest in guaranteeing open
           access to proceedings without denying litigants access to the justice
           system.]

 Doe v. Indiana Black Expo, Inc., 923 F. Supp. 137, 140 (S.D. Ind. 1996); see also Doe

 v. City of Indianapolis, No. 1:12-cv-00062-TWP-MJD, 2012 WL 639537, at *1 (S.D.

 Ind. Feb. 27, 2012) (adding sixth factor). Courts also consider whether a plaintiff's

 identity has been kept confidential leading up to the litigation. Doe v. Trustees of

 Ind. Univ., 577 F. Supp. 3d 896, 908 (S.D. Ind. 2022). Although all these factors may

 come into play in a court's decision, "it is the movant who ultimately 'bears the

 burden of proof to show that some combination of these factors outweighs the

 ordinary presumption of judicial openness.'" Id. at 902 (quoting Cook County, 542 F.

 Supp. 3d at 785)).

       Whether a litigant may proceed pseudonymously is entrusted to the

 discretion of the Court. Vill. of Deerfield, 819 F.3d at 376. This discretion comes

 with "an independent duty to determine whether exceptional circumstances justify

 such a departure from the normal method of proceeding in federal courts," even if

 the motion to proceed under a fictious name is not opposed. Blue Cross & Blue

 Shield United, 112 F.3d at 872; see also S.D. Ind. L.R. 10-1 (advisory committee

 comments) ("The court has an independent duty to determine whether the potential

 harm to a litigant exceeds the presumption that judicial proceedings are open to the

 public, such that the litigant should be permitted to proceed under a pseudonym.").




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 III.   Discussion

        Plaintiffs argue that they should be permitted to proceed under a pseudonym

 as they pursue their negligence, battery, assault, and intentional infliction of

 emotional distress claims because litigating under their true names would expose

 them to risk of additional harm. (Dkt. 34 at 7). They assert that their claims involve

 matters of the utmost intimacy, that Defendants will not be prejudiced by Plaintiffs'

 use of pseudonyms, and that there is no compelling public interest in their true

 identities. (Dkt. 3-1 at 4-6). Defendant Howell opposes in full, arguing that Plaintiffs

 have not shown "exceptional circumstance" necessitating use of pseudonyms and

 that only one of the above-listed six factors might weigh in favor of Plaintiffs'

 Motion. (Dkt. 30 at 5). Defendants Butler and Reiff do not oppose Jane Doe 1 and 2's

 request and take no position on that of Jane Doe 3. (Dkt. 31 at 4).

        Taken as a whole, the discretionary factors weigh in Plaintiffs' favor. As a

 preliminary matter, Plaintiffs are neither challenging government activity nor

 admitting their intention to engage in illegal conduct. (Dkt. 3-1 at 4, n.1). As such,

 these factors do not support Plaintiffs' request. See Doe v. Indiana Black Expo, Inc.,

 923 F. Supp. 137 at 140 (factors #1 and 3). Rather, the analysis turns on the

 remaining factors, i.e., the degree of intimacy involved in the information at issue,

 the potential for future injury to Plaintiffs, and the extent to which Defendants

 would be prejudiced by pseudonymous litigation.

        There is little doubt that Plaintiffs will be required to disclose information of

 the utmost intimacy in the present litigation. Plaintiffs' Complaints contain



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 numerous allegations of their genitals and breasts being exposed and fondled, and

 nonconsensual contact with Defendant Howell's genitals. (1302 Dkt. 1 at 12-16, 18;

 1303 Dkt. 1 at 9-14; 1306 Dkt. 1 at 9, 13-14). This litigation will necessarily require

 them to describe the exposure and touching (and resulting alleged injuries) in

 minute, perhaps even painstaking, detail. The disclosure of this type of information

 weighs in favor of permitting pseudonyms. See Doe v. Purdue Univ., 321 F.R.D. 339,

 341-42 (N.D. Ind. 2017) (allowing a plaintiff to proceed anonymously in a matter

 containing allegations of sexual misconduct and the details of the university's

 findings); Doe v. Nat'l Collegiate Ath. Ass'n, No. 1:23-cv-542-SEB-MJD, 2023 WL

 3074907, at *2 (S.D. Ind. Apr. 25, 2023) (allowing plaintiffs to litigate anonymously

 when their complaints involved allegations of sexual misconduct and the coaches'

 abusive behavior) (citing City of Chicago, 360 F.3d at 669); Doe v. Butler Univ., No.

 1:22-cv-01828-SEB-MG, 2022 WL 18540513, at *3 (S.D. Ind. Nov. 18, 2022)

 (allowing plaintiff, a then student at Butler, to proceed anonymously due to, among

 other things, fear of retaliation if his identity was disclosed).

       The risk of Plaintiffs suffering physical or mental injury if they are publicly

 identified further weighs in favor of preserving their anonymity. As described in

 Cook County, a party alleging sexual assault must not rest simply on his or her

 allegations in arguing this factor.

       [V]ictims of sexual assault often wish to keep their identities secret out
       of fear of embarrassment or social stigmatization. Those concerns
       alone, however, are insufficient to permit a plaintiff to proceed under a
       pseudonym. . . . However, if a movant shows that her specific
       circumstances demonstrate a risk of serious social stigmatization



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          surpassing a general fear of embarrassment, courts may consider those
          circumstances in favor of granting the motion.

  Cook County, 542 F. Supp. 3d at 787. Here, the Court finds that the specific

  circumstances demonstrate a real possibility of more than general fear of

  embarrassment and establish that Plaintiffs face a not-insignificant risk of

  suffering physical or mental injury if identified.

          As Defendants Butler and Reiff acknowledge, two of the Plaintiffs are current

  student-athletes at Butler. 2 (Dkt. 31 at 4). Disclosure of their identities would risk

  exposing them to retaliation, social stigmatization, and decreased participation in

  school and athletics—negative consequences which could cause additional harm,

  both psychological and emotional, to Plaintiffs. Moreover, Plaintiffs' complaints

  contain allegations that Defendant Howell has photographs and potentially

  damaging information regarding Plaintiffs which could harm them socially,

  academically, and perhaps professionally. (1302 Dkt. 1 at 12, ¶¶69-71; 1303 Dkt. 1

  at 13-14, ¶¶103, 104, 105, 106; 1306 Dkt. 1 at 7, ¶¶32-34). Plaintiff Jane Doe 3

  specifically alleges that Defendant Howell told her he would use damaging

  information against her and other players if they said anything bad about him.

  (1306 Dkt. 1 at 7, ¶¶32-34). While the Court will not speculate whether any

  potentially damaging information exists and/or would be released, the Court finds

  Plaintiffs' specific allegations regarding threats of retaliation and resulting future



  2 Although Jane Doe 3 is no longer a student at Butler, the Court declines to use this fact as a basis

  for denying her request to proceed under a pseudonym. Identifying Jane Doe 3 would increase the
  likelihood of Jane Doe 1 and/or 2 being identified by process of elimination, given the relatively
  small universe of women involved in the Butler soccer program during the operative time period.

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  harm to be sufficient to surpass a "general fear of embarrassment" for purposes of

  the present analysis. Cook County, 542 F. Supp. 3d at 787; see also Doe v. Purdue

  Univ., No. 4:18-cv-89-JEM, 2019 WL 1757899, at *2 (N.D. Ind. Apr. 18, 2019)

  ("There is a documented risk of retribution to individuals who allege sexual assault,

  and it is not hard to imagine that the same risks might extend to a woman who

  alleges a physical assault by a former sexual partner.").

         The Court next turns to Defendant Howell's argument that he will be

  prejudiced if Plaintiffs are allowed to proceed anonymously. He claims that

  "[a]llowing Plaintiffs to proceed under pseudonyms would hamstring Howell's

  ability to respond to their claims and prejudice his ability to protect his reputation

  in the same forums where Plaintiffs have sought publicity." (Dkt. 30 at 5). He

  asserts that "discovery will be overcomplicated and/or impossible" but neglects to

  develop this argument further. (Id.)

         It is unclear to the Court how allowing Plaintiffs to litigate as Jane Does will

  hamper Howell's ability to defend himself. He answered the Complaints, outright

  denying most of the allegations. 3 (Dkt. 37). Indeed, although Plaintiffs' identities

  appear to have been kept confidential prior to the litigation (which weighs in favor

  of continued anonymity), all parties were involved in the Title IX investigation, and

  it appears that Defendants were made aware of Plaintiffs' identities through that

  process. (Dkt. 3-1 at 6). Additionally, as the Seventh Circuit has noted, "'pretrial

  discovery, unlike the trial itself, is usually conducted in private.' Pretrial


  3 Similarly, Defendant Butler and Reiff have filed Motions to Dismiss. (1302 Dkt. 35; 1303 Dkt. 39;

  1306 Dkt. 37).

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  discovery—depositions, interrogatories, and the production of documents—'are not

  public components of a civil trial . . . and in general, are conducted in private as a

  matter of modern practice.'" Bond v. Utreras, et al., 585 F.3d 1061, 1075 (7th Cir.

  2009) (citations omitted); see also id. ("[s]ecrecy is fine at the discovery stage, before

  the material enters the judicial record") (quoting Baxter Int'l, Inc. v. Abbott Labs.,

  297 F.3d 544, 545 (7th Cir. 2002)). As Plaintiffs and Defendants Butler and Reiff

  point out, the use of pseudonyms in this litigation will only apply to publicly filed

  documents. (Dkt. 3 at 3; Dkt. 3-1 at 7; Dkt. 31 at 5). To the extent the pseudonyms

  may have an adverse effect on third-party discovery, the parties may stipulate to a

  protective order to alleviate those concerns.

         Finally, none of the Defendants responded to Plaintiffs' argument that there

  is no compelling public interest in identifying them. Even if the argument had been

  countered, the factor weighs in favor of Plaintiffs. Plaintiffs aver, and the Court

  agrees, that "'[t]he actual identit[ies] of Plaintiff[s] . . . [are] of minimal value to the

  public.'" (Dkt. 3-1 at 6-7 (citing Purdue Univ., 321 F.R.D. at 343)). While not a

  certainty, there is a risk that disclosing Plaintiffs' identities could have a chilling

  effect on current and former student-athletes reporting sexual assault and

  harassment by university employees in positions of authority. The identities of

  current and former student-athletes who were alleged victims of sexual assault and

  harassment do not appear to this Court to be information for which the public is

  clamoring. This weighty consideration favors Plaintiffs.




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          Before concluding, the Court turns to Defendants' argument that Plaintiffs

  have attempted to use public scrutiny to their advantage. (See Dkt. 30 at 3-4 (they

  have "attempted to use public scrutiny to their advantage to this point"); Dkt. 31

  at 2 (they "deployed their pseudonymous allegations widely in the media")). In

  support of their allegation, Defendants direct the Court to several news articles, a

  blog post, a tweet, and Plaintiffs' counsel's inclusion of the litigation on the firm

  website. (Dkt. 30 at 4-5; see also id. at 5 ("Strategically Plaintiffs have sought to

  make the public aware of these cases. Their aggressive pursuit of press coverage

  cannot be reconciled with their dubious claim of fearing public scrutiny.")).

          The Court disagrees with Defendants' assertion and, in any event, does not

  find it alters the Court's conclusion.4 While it is true that Plaintiffs' allegations

  have been reported on by various media outlets, a review of the cited news articles

  does not suggest that Plaintiffs "sought" or "aggressive[ly] pursu[ed]" press

  coverage. (Dkt. 30 at 4-5). The articles appear to be based on the Complaints and

  include a brief quote from Plaintiffs' counsel. Nothing suggests that Plaintiffs have

  been contacting the news outlets, and the Court will not assume as much. It is also

  possible that reporters monitoring federal filings saw the Complaints and reached

  out to Plaintiffs' counsel for comment. Nor does Plaintiffs' counsel's inclusion of

  this matter on their firm's blog persuade this Court that Plaintiffs are trumpeting

  their cases in such a way that undermines Plaintiffs' present request. Rather, it



  4 Similarly, the Court rejects Plaintiffs' speculation regarding "the moving force behind Defendant

  Howell and Butler's oppositions to" Plaintiffs' Joint Motion. (Dkt. 6-1 at n.4). Plaintiffs offer nothing
  to support this serious allegation.

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  appears to be nothing more than a marketing tool that many firms use to highlight

  notable cases and subject matter to educate current clients and attract future

  clients. Further, Butler has also drawn attention to this matter by sending a

  university-wide email. (Dkt. 34 at 4; Dkt. 34-1; Dkt. 34-2). By asserting that

  Plaintiffs have shone a spotlight on this litigation, Butler must also acknowledge

  its own actions in highlighting these lawsuits, even if such actions were taken in

  response to those of Plaintiffs.

        In sum, the Court finds the balance of factors weighs in favor of Plaintiffs.

  IV.   Conclusion

        For the foregoing reasons, the Court GRANTS the Plaintiffs' Joint Motion to

  Proceed Under Pseudonym, Dkt. [3].

        Within 14 days of this Order, the parties shall meet and confer regarding the

  need for a protective order governing discovery in this case.

        So ORDERED.


        Date: 11/14/2023




  Distribution:

  All ECF-registered counsel of record via email.



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